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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 11-0572CCC
 1) EMANUEL SOTO-FLORES
 2) JAILENE RIVERA-CINTRON
 Defendants


                                          ORDER

       Having considered the Report and Recommendation filed on May 6, 2014 (docket

entry 176) on a Rule 11 proceeding of defendant [2] Jailene Rivera-Cintrón before

U.S. Magistrate-Judge Marcos E. López on April 3, 2014, to which no objection has been

filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The

Court FINDS that her plea was voluntary and intelligently entered with awareness of her

rights and the consequences of pleading guilty and contains all elements of the offense

charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since April 3, 2014. The sentencing hearing is set for July 3, 2014

at 4:30 PM.

       The U.S. Probation Officer is reminded that, should any objections be raised by

defendant to the PreSentence Report, the Addendum to said PreSentence Report must

specifically identify any unresolved objections, the grounds for the objections, and the

U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The

party that raised the unresolved objections shall, within twenty-four (24) hours after the

Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal

of the unresolved objections.

      SO ORDERED.

      At San Juan, Puerto Rico, on May 28, 2014.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
